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 CONSENT TO BECOME PARTY PLAINTIFF
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     i:i'A
 j:i)1- IPJ  l&, E3




        By my signature below, I hereby authorize the filing and prosecution of claims in my name
 and on my behalf to contest the failure of DEFENDANT(S), EMPLOYER

                         ~T~ft*, ft~a#m~~ft~~-ft~ft$~WR~~~~~
                                            MayFlower
 to pay me overtime wages and/or minimum wages as required under state and/or federal law
 including the Fair Labor Standards Act and also authorize the filing of this consent in the action(s)
 challenging such conduct.

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  NG-Lam. SHUK.J:;
                                                     Signature
  PARTY PLAINTIFF                                    ~i'j




  Date
  BM




                                        Page 6 of6                    Initials - - - - - -
